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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA



 IN RE CATTLE ANTITRUST LITIGATION
                                                    Civil No. 19-cv-1222 (JRT/HB)

 This document relates to:                          [PROPOSED] ORDER

 ALL CASES



         Upon consideration of Plaintiffs’ Motion to Approve Alternative Service on

JBS S.A. and the entire record, and for good cause showing, it is hereby:
         ORDERED that Plaintiffs’ Motion to Approve Alterative Service on JBS S.A.
[DKT. 170] is GRANTED;
         ORDERED that Plaintiffs may serve the Summons and Complaint upon
Defendant JBS S.A. through delivery on McGrath North Mullin & Kratz, PC LLO,
located at First National Tower, Suite 3700, 1601 Dodge Street, Omaha, NE 68102;

         ORDERED that Plaintiffs may serve the Summons and Complaint upon
Defendant      JBS   S.A.    through   email   to   Patrick   E.   Brookhouser,     Jr.
(pbrookhouser@mcgrathnorth.com)            and        William       F.      Hargens
(whargens@mcgrathnorth.com), both of McGrath North.



 Dated: _______________________
                                           The Honorable Hildy Bowbeer
                                           Magistrate Judge, District of Minnesota




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